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13   Attorneys for Defendant
     EDUCATIONAL CREDIT MANAGEMENT CORPORATION
14
15
                               UNITED STATES DISTRICT COURT
16
                          CENTRAL DISTRICT OF CALIFORNIA
17
18   A J REYES and BEHESHTA MAHBOOB,            MISC. CASE NO.
     on behalf of themselves                        2:20-mc-00012-JAK-AGR
19   and all others similarly situated,
                                                [Underlying Case No. 3:15-cv-00628-
20               Plaintiffs,                    BAS-AGS, pending in the Southern
                                                District of California]
21         vs.
                                                STIPULATION FOR DISMISSAL
     EDUCATIONAL CREDIT                         PURSUANT TO FED. R. CIV. P.
22   MANAGEMENT CORPORATION,                    41(a)(1)(A)
23               Defendant.
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              Reyes v. Educational Credit Management Corp., No. 2:20-mc-00012-JAK-AGR
                        STIPULATION FOR DISMISSAL PURSUANT TO FED. R. CIV. P. 41(A)(1)(A)
Case 2:20-mc-00012-JAK-AGR Document 9 Filed 02/19/20 Page 2 of 4 Page ID #:403


 1
           TO THE HONORABLE COURT, ALL PARTIES HEREIN AND THEIR
 2
     RESPECTIVE ATTORNEYS OF RECORD:
 3
           PLEASE TAKE NOTICE that Plaintiffs AJ Reyes and Beheshta Mahboob
 4
     (collectively “Plaintiffs”) through their counsel of record Kas L. Gallucci of the Law
 5
     Offices of Ronald A. Marron, and Defendant Educational Credit Management
 6
     Corporation (“Defendant”), through its counsel of record, Martin Schannong of Carlson
 7
     & Messer LLP, hereby file this Stipulation for Dismissal pursuant to Federal Rule of
 8
     Civil Procedure 41(a)(1)(A).
 9
           Accordingly, the Parties stipulate that this miscellaneous action shall be dismissed
10
     WITHOUT PREJUDICE pursuant to Federal Rule of Civil Procedure 41(a)(1)(A).
11
           Each party to bear their own costs and fees.
12
13
     DATED: February 19, 2020        LAW OFFICES OF RONALD A. MARRON
14
15
                                     By:    s/ Kas L. Gallucci
16                                          Ronald A. Marron
                                            Alexis M. Wood
17                                          Kas L. Gallucci
                                            Attorneys for Plaintiffs and the Class
18
19   DATED: February 19, 2020        CARLSON & MESSER LLP
20
                                     By:    s/ Martin Schannong
21                                          Charles R. Messer
                                            David J. Kaminski
22                                          Martin Schannong
                                            Attorneys for Defendant
                                            EDUCATIONAL CREDIT MANAGEMENT
23                                          CORPORATION
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          Reyes v. Educational Credit Management Corp., No. 2:20-mc-00012-JAK-AGR
                    STIPULATION FOR DISMISSAL PURSUANT TO FED. R. CIV. P. 41(A)(1)(A)
Case 2:20-mc-00012-JAK-AGR Document 9 Filed 02/19/20 Page 3 of 4 Page ID #:404


 1                             SIGNATURE CERTIFICATION
 2         I hereby certify that the content of this document is acceptable to Defendant’s
 3   counsel, and that I have obtained Defendant’s counsel’s authorization to affix the
 4   electronic signatures to this document.
 5
     DATED: February 19, 2020        LAW OFFICES OF RONALD A. MARRON
 6
 7
                                     By: s/ Kas L. Gallucci
 8                                   Ronald A. Marron
                                     Alexis M. Wood
 9                                   Kas L. Gallucci
                                     Attorneys for Plaintiffs and the Class
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          Reyes v. Educational Credit Management Corp., No. 2:20-mc-00012-JAK-AGR
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Case 2:20-mc-00012-JAK-AGR Document 9 Filed 02/19/20 Page 4 of 4 Page ID #:405


 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on February 19, 2020, a true and correct copy of the foregoing
 3   STIPULATION FOR DISMISSAL was filed through the ECF system, which will send
 4   notification of such filing to the following e-mail addresses:
 5
                  kaminskid@cmtlaw.com
 6                SchannongM@cmtlaw.com
                  alexis@consumersadvocates.com
 7                kas@consumersadvocates.com
                  ron@consumersadvocates.com
 8                DanielShay@TCPAFDCPA.com
 9
10
     DATED: February 19, 2020         LAW OFFICES OF RONALD A. MARRON
11
12                                    By: s/ Kas L. Gallucci
                                      Ronald A. Marron
13                                    Alexis M. Wood
                                      Kas L. Gallucci
14                                    Attorneys for Plaintiffs and the Class

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          Reyes v. Educational Credit Management Corp., No. 2:20-mc-00012-JAK-AGR
                    STIPULATION FOR DISMISSAL PURSUANT TO FED. R. CIV. P. 41(A)(1)(A)
